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      5   Attorney for Defendant,
          TRENT HARIACZYI
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      8                           IN THE UNITED STATES DISTRICT COURT
      9                         EASTERN DISTRICT OF CALIFORNIA, FRESNO
     10                                            * * * * *
     11
                                                         ) Case No.: CR-F-02-5301 OWW
     12   UNITED STATES OF AMERICA,                      )
                                                         ) STIPULATION FOR CONTINUANCE AND
     13               Plaintiff,                         ) PROPOSED ORDER THEREON
                                                         )
     14        vs.                                       )
          TRENT HARIACZYI,                               )
     15                                                  )
                      Defendant.                         )
     16                                                  )
     17

     18         IT    IS        HEREBY    STIPULATED      between   the     Defendant,       Trent
     19   Hariazcyi,       by     and    through   his    attorney-of-record,       Anthony     P.
     20   Capozzi, and Plaintiff, by and through Assistant United States
     21   Attorney, Jonathan B. Conklin, that the hearing now set for May 2,
     22   2005, be continued to June 6, 2005, at 1:30 p.m.                       It is further
     23   stipulated       by    the     parties   that   any   delay   resulting     from    this
     24   continuance shall be excluded on the following basis:
     25         (1)         Title 18, United States Code, Section 3161(h)(8)(A) -
     26                     -      that the ends of justice served by taking such
     27                     action outweighs the best interest of the public and
     28                     the defendant in a speedy trial;

                                                     - 1 –
                                                                        Stipulation for Continuance
                                                                                        02-5304 OWW

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      1         (2)        Title       18,       United         States      Code,         Section
      2                    3161(h)(8)(B)(ii):        that      is   unreasonable     to   expect
      3                    adequate preparation for pre-trial proceedings or for
      4                    the trial itself with the time limits established due
      5                    to the complexity of the case.
      6                                          Respectfully submitted,
      7

      8   Dated: April 27, 2005
      9                                               /s/ Anthony P. Capozzi
                                                 ANTHONY P. CAPOZZI,
     10
                                                 Attorney for Defendant,
     11                                          Trent Hariaczyi

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     14   Dated:      April 27, 2005
                                                      /s/ Jonathan B. Conklin
     15                                          JONATHAN B. CONKLIN
                                                 Assistant United States Attorney
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                                                                       Stipulation for Continuance
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                   Case 1:02-cr-05301-DAD Document 409 Filed 05/03/05 Page 3 of 3



      1                                           ORDER
      2

      3          IT IS SO ORDERED.        Good cause having been shown, the hearing
      4   set for May 2, 2005, is vacated and continued to June 6, 2005, at
      5   1:30 p.m.       Additionally, time shall be excluded by stipulation
      6   from   the    parties   and   pursuant     to    18   USC   §§   3161(h)(8)(A)     and
      7   3161(h)(8)(B)(ii).
      8   Dated:     April 29, 2005
      9                                          /s/ OLIVER W. WANGER
     10
                                                 Honorable Oliver W. Wanger
     11                                          United States District Court Judge

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                                                                      Stipulation for Continuance
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